UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION

In re:

DRAGAN MICIC,

Debtor, Chapter 7
Bankruptcy No. 19-10717
TOMASZ MARKUT, Honorable Judge Jack B. Schmetterer
Plaintiff, Adversary No, 19-00887
v.
DRAGAN MICIC,
Defendant,

 

 

JUDGMENT ORDER
For reasons articulated in the accompanying Memorandum Decision entered concurrently
herewith, [T IS HEREBY ORDERED, ADJUDGED, and DECREED THAT:
{, Judgment is entered in favor of Plaintiff Tomasz Maricut.
2, Any debt for physical injury requiring medical treatment owed by Defendant Dragan
Micic to Plaintiff Tomasz Markut by reason of an encounter between the parties on the

street of North Natchez Avenue on December | 1, 2015 is nondischargeable.

 

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fi B, Schmetterer
nited States Bankruptcy Judge

Dated thist0th day of September 2021
